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NOTARY PUBLIC-STATE OF ARKANSAS

LINCOLN COUNTY

My Commission Expires 03-16-2025
Commission # 12403817 Teac tA

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4:22-cv-00579-BSM-JTK

State of Arkansas ) ee CEIVER
)§ ee SE Veber ea, 2UAT vere JUN ] 7 2022

County of Lincoln )
22 SLT AS 2b

TSARRIDAVIT ----
I, Dewars lags , after first being duly sworn, do hereby swear,
depose and state that: 6 120

On September oO. 2020 at approx %°30 1, Denarius Stallings was
woken up for court by (Officers) Sgt. Franklin and Corporal Green. I was placed in
hand cuffs behind my back at my door. Once my cell door was opened, there was
an extension placed between the handcuff chain behind my back. Then from the
opposite end of the extension cuffs leg restraint cuffs were placed on my ankles.

As, I , Denarius Stallings and security officers existed the cell door, we
being walking pass inmate C. Brewer # 140442 ccll,. At that moment there was a
loud noise and inmate emerge quickly out the pipe chase, from where he had done
climbed through the light fixture in his cell.

Inmate C. Brewer immediately attacked me, stabbing mc in my head, neck
and back. Sgt. Franklin took action to defuse the incident, as Corporal Green ran
taking cover leaving me, (Denarius Stallings) to be openly stabbed. After Sgt.
Franklin had C. Brewer detained on the ground, Corporal Green pulled me to the
ground instead of grabbing the aggressor.

Sgt. Taylor, who was working the barracks of Cell Block (6) ran to the
bottom tier, where to encounter was taking place. To assist Sgt. Franklin in the take
down of Inmate C. Brewer. Where, thcy both held to the inmate down to back up
arrived.

When all available’s arrived, I, Denarius Stallings, was escorted to the
treatment room, while 3 or 4 nurses patched me up. There was no photos taken of
the stabs at that time, nor was I asked how was I feeling. I was asked was I O.K. I
stated No, I would like to escorted to the hospital. Staff response was “No.” then I
was escorted immediately back to cell (922% . Then I was told to submit a sick
call and I would be seen in (48) hours for treatment. Which would have gotten
worse.

This event, has caused me to have neck and shoulder pains. I been having
headaches so bad, to the extent where I’m not getting a proper (8) hour rest at night.

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vs a

p | q {i | Lb, , f A This case assigned to District Judge Miller
As 5 b } and to Magistrate Judge Kearney

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I put in a sick call to be seen in the infirmary to no avail, have I been given
an X-Ray yet? I’ve also been having paranoid visions, behind this defenseless
stabbing done to me. At times, | still lose my breath. I’m seeking counseling from
Mental Health Staff (Ms. Lighton) in attempt to talk out this issue.

I’ve been seen by a doctor only once, in which there wasn’t been any follow
ups yet.

END OF STATEMENT

I further swear that the statements, matters and things contained herein are true and

accurate to the best of my knowledge, information and belief.

— GHB. 0-13-22 Ta. so Til

Date: Affiant

NOTARY PUBLIC

SUBSCRIBED AND SWORN TO BEFORE ME, a Notary Public, on this LI

day of , 202%
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03 -/6-j005-

My Commission expires on: otary Public

oN

MARY LLOYD
NOTARY PUBLIC-STATE OF ARKANSAS
LINCOLN COUNTY |.
My Coonmission Expires 03-16-2

Commisz.on # 12403817

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apc# 1550 Brks # (g- 42. Job Assignment Aug anv. coset: AQ _ |
1& [26 (Date) STEP ONE: Informal Resolution -

(Date) STEP TWO: Formal Grievance (All complaints/concerns handled informally.)
If the issue was not resolved during Step One, state why:

Yisias, (Date) EMERGENCY GRIEVANCE (An emergency situation is one in which you may be subject to
tial risk of physical harm: emergency grievances are not for ordinary problems tf that a are not t of serious
nature). If you marked yes, give this completed form to the designated 4 Proplen i

attached emergency receipt. In an Emergency, state why: 08 SOTO A
Tite, Mat Yt abe Turny std RuvcPs hon 0 Guo «
Is this Grievance concerning Medical oxMentaf-Health Services? If yes, circle one: medical or mental

BRIEFLY state your one complaint/concern and be specific the, comp)aint, p name of personnel

THIS SECTION TO BE FILLED OUT BY STAFF ONLY
This form was received on (date), and determined to be Step One and/or an Emergency Grievance

(Yes or No). This form was forwarded to medical or mental health? (Yes or No). If yes, name
of the person in that department receiving this form: Date
v0 HI Ainrclin 09-172)

STAFF NAME (PROBLEM SOLVER) ID Number Staff Si , . _ Date Received
Describe action taken to resolve complaint, includifte Gates . iS tnqident being
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ignature-& Dawe Retumne: 5 alamnte Signature & Date Received

* a to Grievance Officer/ Warden/Other) Date:
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tion SET Oe and Step Two.

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- 6 (Date) STEP ONE: Informal Resolution a
a 2 /QU1 wate) STEP ‘TWO; Formal Grievance (All complaints/concerns shoy jpbould first handled informally.)

If the i issue was not resolved during Step One, state why:

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7 l 3 JS , (Date) EMERGENCY GRIEVAN CE (Anes emergency situation is one in which you may be subject to

\ a substantial risk of physical harm: emergency grievances are not for ordinary problems that are not of serious
nature). If you marked yes, give this.completed form to nits j designated Rte 1g flag, w 24 WO wil sign the

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‘ this Grievance concerning (na es ‘or Mental wa Services? If yes, circle one: medical or mental

IRIEFLY state your one complaint/concern and be peril as, to Sooo § date, place,’ name of personnel —
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Inmate Signature - Date . .
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This form was received on (date), and determined to be Step One.and/or an Emergency Grievance
(Yes or No). This form was forwarded to medical or mental health? (Yes or No). If yes, name

of the person in that department receiving this form: _- ‘ Date _.

(gitca oho META OP THK

PRINT STAFF NAME (PROBLEM SOLVER) ID Number Staff Signature . Date Received
Describe action taken to resolve complaint, including dates: . =

j
Staff Signature & Date Returned Inmate Signature & Date Received
This form was received on PAF x0 _ 6G #0 (date), pursuant to Step Two. Is it an Emergency? fyes or No).
_ _ Staff Who Received Step Two Grievance: th Mm Date:

Action Taken: (Forwarded to Grievance Officer/Warden/Other) Date:
‘If forwarded, provide name of person receiving this form: Date:

DISTRIBUTION: YELLOW & PINK - Inmate Receipts; BLUE - Grievance Officer; ORIGINAL - Given back

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Case 4:22-cv-00579-BSM Document 4 Filed 07/13/22 Page 19 of 23
Case: 4:22-cv-00579-BSM-JTK Document#:1-0 Filed: 06/17/2022 Page 7 of9

IGTT430

Page | of 1

3GD Attachment VI

INMATE NAME: Stallings, Denarius ADC #: 155066 GRIEVANCE# :VSM20-02406

CHIEF DEPUTY/DEPUTY/ ASSISTANT DIRECTOR'S DECISION

In your grievance dated 9/15/2020, you stated, "On 9/15/2020 I was being escorted to TV court by
Sgt. Franklin and Corporal Green when inmate Christopher Brewer #140442 came out of the pipe-
chase and stabed me in my kneck in the back, once in the back of my kneck, twice in my back, and
once in the back of my head. This has happened twice with this inmate and therefore this grievance
is against: Warden Gibson - Warden Johnson - Deputy Warden Shipman - Chief of Security Major B.
Carroll - Captain Taylor - Captain Plumer - Lt. Brown - and all maintenance personal for failure to
check areas such as the pipe-chase, and cells to (secure) a incident such as this from happening a
violation of my 8th amendment and deliberate indifference on all above for not checking all areas to
(secure) the problems.”

On 11/18/2020, the warden responded, “Sergeant Franklin and Corporal Green took immediate
action to protect you from Inmate Christopher Brewer #140442 on September 15, 2020. All
available officers responded to assist in Cellblock 6 where Inmate Brewer was apprehended, and
you received medical treatment. This incident was forwarded to Internal Affairs and Arkansas State
Police for further investigation. Therefore, I find this issue without merit."

Your appeal was received on 11/30/2020. After review of your appeal and supporting
documentation, I find this incident was forwarded to the Arkansas State Police for further
investigation upon the completion of the State Police investigation you wilt be notified of their
findings.

Appeal Denied.

|---|

Director Date

https://eomiscluster.state.ar.us:7002/eomis/interface/interface_2_0_clearPage.jsp?skipBody...

1/8/2021
' Case 4:22-cv-00579-BSM Document 4 Filed 07/13/22 Page 20 "CPA 1,
11/18/2020 - Arkansas - i .
Case: 4:22-cv-00579-BSM-JTK Document #: 1-0 PPited: 61712022 ND
IGTT410 Attachment III
3GS
INMATE NAME: Stallings, Denarius ADC #: 155066C GRIEVANCE #: VYSM20-02406

WARDEN/CENTER SUPERVISOR'S DECISION

In your grievance you state, “On 9/15/2020 I was being escorted to TV court by Sgt. Franklin and Corporal
Green when inmate Christopher Brewer #140442 came out of the pipe-chase and stabed me in my kneck in
the back, once in the back of my kneck, twice in my back, and once in the back of my head. This has happened
twice with this inmate and therefore this grievance is against: Warden Gibson - Warden Johnson - Deputy
Warden Shipman - Chief of Security Major B. Carroll - Captain Taylor - Captain Plumer - Lt. Brown - and all
maintenance personal for failure to check areas such as the pipe-chase, and cells to (secure) a incident such as
this from happening a violation of my 8th amendment and deliberate indifference on all above for not checking
all areas to (secure) the problems.”

Sergeant Franklin and Corporal Green took immediate action to protect you from Inmate Christopher Brewer
#140442 on September 15, 2020. All available officers responded to assist in Cellblock 6 where Inmate Brewer
was apprehended, and you received medical treatment. This incident was forwarded to Internal Affairs and
Arkansas State Police for further investigation. Therefore, I find this issue without merit.

[———

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Signatgre of Warden/Supervisor of Designee Title
NOV 3 0 2020
INMATE'S APPEAL INMATE GRIEVANCES SUPERVISOR «
ADMINISTRATION BUILDING

If you are not satisfied with this response, you may appeal this decision within five working days by filling in the

information requested below and mailing it to the appropriate Chief Deputy/Deputy/Assistant Director along with “~
—the Vnit Level Grievance Forny Keep in mind that you are appealing the decision to the original grievance. Bo not

list additional issues, which are not part of your original grievance as they will not be addressed. Your appeal

statement is limited to what you write in the space provided below.

WHY DO YOU DISAGREE WITH THE ABOVE RESPONSE? Qing wrubhaudt: Gad =
4 thy ling

Doniina Htaliga | ADC#: 155066 MW) 2t/ Q0axG

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Inmate Signature U

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Case 4:22-cv-00579-BSM Document 4 Filed 07/13/22 Page 21 of 23
Message-Id<9132034@ared.uscourts.gov> Subject:Activity in Case 4:22-cv-00579-BSM-JTK Stallings v. Gibson et al Comphint Content-Type: text/html

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the referenced document is a transcript, the free copy and 30 page linsit do not apply.

U.S. District Court
Eastem District of Arkansas

Notice of Electronic Filing

The following transaction was entered on 6/21/2022 at 2:55 PM CDT and filed on 6/17/2022

Case Name: Stallings v. Gibson et al
Case Number: = 4:22-cv-00579-BSM- 9K
Filer: Denarius M Stallings”
Document Number: ]

Docket Text:

COMPLAINT against All Defendants, filed by Denarius M Stallings. (Idb)

4:22-cv-00579-BSM-JTK Notice has been electronically mailed to:
4:22-cv-00579-BSM-JTK Notice has been delivered by other means to:

Denarais M Stallings

ADC #155066

VARNER SUPERMAX
Arkansas Division of Correction
Post Office Box 400

Grady, AR 71644-0400

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Document description:Main Document

Original filename :n/a

Electronic document Stamp:

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